
McCunn, J. (dissenting.)
I regret I must dissent in this case. On the 30th of July, 1866, as the yacht Rambler of the Hew York Yacht Squadron, was about to drop anchor at her rendezvous in the waters of‘ the Hudson, she fired a salute of one gun to the other yachts. of the squadron. The wadding of the gun struck and penetrated the side of the ferryboat, on which the plaintiff was sitting, knocking him down, breaking his arm, and rendering, it useless for life. This action is brought against the defendant, the owner of the yacht, to recover compensation for the injury. It appears in the evidence, that, in the harbor 'of Hew London and in the harbor of Hewport, two years previous to the accident, instructions were given by Mr. Fearing, the owner,'that no firing should take place on board his. yacht, unless he was present, or unless he ordered it to be done. That on the morning of the accident, Mr. Fearing quitted his yacht at Staten Island, and left her in command of a person named Smith, whom he called his sailing-master, and directed Smith to proceed to the rendezvous; that Smith, on arriving at such rendezvous, ordered the customary salute to the other yachts, without receiving instructions from Mr. Fearing. On this state of facts, a nonsuit was ordered by the learned judge below, on the ground that “ plaintiff bad shown no facts to render the defendant liable.” I am clearly of opinion that error was committed in granting such nonsuit.
On the trial of the action, an effort was made on the part of the defendant to establish the fact that the witness, Smith, was not the captain, but the sailing-master of the yacht. This is of little consequence; indeed it is quite immaterial ■ whether Smith was known as captain, or as *541sailing-master. It is admitted that when Mr. Rearing quit his yacht at Staten Island he placed Smith in the entire command of the ship, and that she was absolutely under his supreme control; and I hold that Mr. Rearing, the defendant, under the circumstances, is liable for the act of Smith in negligently firing the gun.
It is a sound maxim in law that, when a party is injured by the negligence of another, the person causing the injury shall be held strictly accountable, unless the party injured contributed to the accident, which was not the case here. There is no pretense that-the plaintiff was in the slightest degree negligent. On the contrary, he was sitting in the cabin of the ferry-boat, on his way from New York ’to his home in Hoboken, when this shot plunged through the side of the boat arid caused the injury, which has invalided him for life. Surely, if courts are intended to afford a remedy for gross negligence, there never was a case in which the refinements of the law should be brought to bear by the judges to enforce such remedy more than in this case. The plaintiff had been attending his daily toil, and was returning to his family, secure, as he thought, in all things which render life safe, when this defendant and his servants, after returning from a trip of pleasure, in the most negligent and careless manner did an act which resulted in the injury. '
A glance at the evidence, must convince even any ordinary mind that it was not only carelessness, but carelessness of the grossest kind. The act of Master Smith in firing the gun was within the strict line of his duty, and the defendant, Rearing, by placing Smith in command of his yacht and in the possession of the implements to do wrong, rendered himself liable, for I lay it down as a broad, general principle that wherever one of two innocent persons must suffer by the acts of a third, he who has enabled such third person to occasion the loss must suffer.
In treating the question herein, we are compelled to withdraw ourselves from the ordinary method of looking into *542such cases, because the facts and circumstances are not altogether within the scope of ordinary business transactions. For instance, this was a pleasure yatch; she was the Means adopted by her opulent proprietor to gratify Ms tastes; and all those amenities and civilities which can by possibility pass between gentlemen able to afford such luxuries, are expected to be exchanged—such as salutations by displaying flags, firing guns, and exchanging other courtesies, and which, I hold, become a part and parcel of the duties of the yacht crew. The vice-commodore of the squadron testifies, “ that the salute to the flag, (the one causing the injury,) was in accordance with the rules of the club,” and the club rules declare such amenities and civilities to be a part of their duties; if such civilities are not part of the ordinary duties of a pleasure yacht and her crew, then it is hard, indeed, to say what their legitimate duties are; they do not engage in commerce, they do not contribute to the welfare or happiness of the community in general, but to the pleasures of the few who associate together; and their polite courtesies to each other, I hold, is part of their legitimate business; and, when they commit an error or a wrong, in carrying out these pleasures, upon one of the community, they should be held strictly accountable.
Once at Newport, in firing a salute from the same yacht, a similar accident occurred, and then it was admitted that Smith was acting within the limits of his duties, and it was because Mr. Fearing believed that the firing at Newport was a part of the duties of .his crew that he forbade firing thereafter, unless he was on board, or gave special directions to do so. Indeed, the fact that the firing was specially prohibited, unless at certain times, is the strongest evidence that it was within the ordinary bounds of the crew’s duty, else why prohibit it ? Smith had been the commander and sailing-master of the yacht for years past, and he knew well what his duties were, and if the firing had not been a part of his duties, even without instructions from Fearing, it *543must be presumed he would, not have fired the gun. But it is manifest that it was because he believed he was performing his duties that he tendered this salute to the squadron. It must, therefore, be taken for granted that the act of Smith, whereby the accident occurred, was strictly within the line of his duties, notwithstanding he was forbidden to perform it; and it is an elementary principle that you cannot bind innocent and third parties who have been injured, by proving private instructions to servants not to perform certain acts, acts ordinarily performed within the line of their duties.
After having said thus much as to what their legitimate duties are, let us see whether Mr. Fearing would not be held liable for the acts done by his commander, which injure others, even if those acts had been some two years before prohibited.
Suppose Captain Fearing to be on board his yacht, his sailing-master, Smith, in command of the vessel, the wind abeam; and another vessel is seen approaching indirectly the opposite course, having the wind also on her beam, and the ships are meeting end on, and Captain Fearing gives the command to put the helm to port, which is the proper command, the other vessel having received the like command, and, instead of putting the helm hard to port, Smith, the sailing-master, in the face of Mr. Fearing’s command, puts his helm hard a starboard, and a collision takes place; Mr. Fearing or his vessel would certainly be held liable for the injury to the other vessel, because article 2 of an act fixing rules and regulations for preventing collisions on water, passed April, 1864, (and which, by the way, is now the sailing regulation of all the world,) declares “ if two sailing vessels are meeting, end on or nearly end on, so as to involve risk of collision, the helms of both shall be put'to port, so that each may pass on the port side of the other.” Now, this is the aptest kind of an illustration ; and if Mr. Fearing had been absent from his vessel, and the sailing-master had, after receiving positive instrue*544tions from Mr. Fearing to obey the law in relation to putting his helm to port, instead of putting his helm to port, put it hard to starboard, thereby causing the collision, surely the absence of Mr. Fearing would not have exonerated his vessel or himself from liability, more than if he had been on board; and certainly the law will hold Mr. Fearing strictly liable for the acts of his sailing-master in firing this gun improperly, as much as it would for the .act of such sailing-master in disobeying his orders, as I have illustrated above.
I might stop here without citing a single authority, because I hold that judges are not bound to treat the court as a thing of words, dates, readings and decisions, but as a living fact, in close relation to other living facts, and having in itself the germs of growth and change; and I would be justified in saying, without adding another word, that the judgment below should be reversed, and a new trial ordered; but let us see what some of the most eminent elementary writers and some of the ablest decisions say upon this question. One of the earliest cases in the books, and one directly' in point, is to be found in the first volume of decisions of Lord Mansfield, by Evans. (P. 98.) That was the case of the capture of a ship by the enemy, where it was agreed between the captors and the captain of the captured ship that one of the sailors should be retained as a hostage until the ransom fixed by the captain with the enemy for the ship should be paid. The sailor consented to be retained or imprisoned by the enemy, provided that the owners of the captured ship would, during his captivity, pay his regular wages, which was agreed to by the captain. The captain brought the ship home, but the agreement on his part with the captors was repudiated by the owners, and the ship was sold for the benefit of the captors. After the seaman obtained his liberty he returned and sued the ownners for his wages during his imprisonment. The answer set up was, that the captain had no authority to bind the owners in such a case, and that his doing so was illegal and *545entirely without the line of his duties, and contrary to the statute law of England. Lord Mansfield, delivering the opinion of the court, held that, although it was not within the strict line of his ordinary duties, and although the law forbade the captain doing so, yet, as the captain believed he was doing his duty when ransoming the ship, and upon principle, he should recover. And this decision was coincided in by all the legal minds of the day. Now, there was on unlawful act perpetrated by the captain, an act forbidden by his owners and by the law of the land, and one which might' be considered entirely beyond the line of his duty; and yet, because the sailor was injured by detention, and because the captain had it in his power so to stipulate, it was held he could recover.
The next case of any moment we find in the English books is that of Sleath v. Wilson, (9 Car. &amp; Payne, 612,) decided by Lord Erskine, wherein that able jurist held “ that whenever the master intrusted the servant with the control of the horses and carriage, it is no answer that the servant acted improperly in the management of it.” “If it were,” proceeds that learned judge, “ it might .be contended that, if a master directs his servant to drive slowly, and if the servant disobeys his orders and drives fast, and through his negligence occasions an injury, the master will not be liable; but (saith Lord Erskine) that is not the law ; the master in such a case will be liable, and the ground is, that he has put it in his servant’s power to mismanage the carriage by intrusting it with him,” and he therefore held that the defendant should be held liable. Now, the case at bar and the one last cited are very similar, notwithstanding the fact that the instruments working the injury were very dissimilar, the one being a servant and a pair of horses, and the other being a servant and a yacht. Both disobeyed the instructions of their masters, and both thereby caused injury to the plaintiffs in the different actions. One disobeyed his master’s directions in taking the horses back to their stable out of their usual way, to perform errands of his own; the. *546other, when taking the yacht, at his master’s request, to her usual rendezvous, .fired a salute which he was not instructed- to fire, thereby causing the injury. The principles involved are precisely similar, and the ruling in the one case should govern the ruling of the other.
The rule that the master shall be liable for the tortious acts of his servant, is of universal application. The maxim is u respondeat superior.” If the act be done in the course of his employment, the master is liable, even if he forbade the act to be done. Such was the decision of Mr. Justice Grier in the case of Derby v. The Philadelphia and Reading Railroad Company, (14 How. U. S. Rep. 483,) where the question came fairly- up, and where the doctrine I contend. for was revived and re-affirmed in the most explicit terms. Derby-had sued the company for injuries to Ms person ; the locomotive causing the injury was run by an engineer employed by the road, who had express instructions not to run his engine on the road that day. Contrary to such instructions, he ran his engine, and in doing so injured the plaintiff, and the company was held liable. How the case of Derby is precisely similar to the one at bar; there the engineer was on that day expressly forbidden to run his engine on the track; he did run her, and caused the injury, and the company was held liable; here the sailing master had received instructions two years previous not to fire salutations without permission ; while in his master’s employ, in bringing up the yacht to her place of destination, he did fire one which caused the injury, and his employer should be held liable.
In some of the cases cited, on the defendant’s points, and in others not on his points, there are to be found dicta, which, when severed from the context, might seem to countenance the doctrine that the master, is not liable if the servant act in disobedience of his orders; but it will be seen on a careful examination that the question depended on whether he was or was not, at the time, in the relation óf master and servant; and I know that in some of those *547cases some subtle and astute distinctions are drawn as to when the servant is acting in his master’s employ; yet I can find no case contrary to the views expressed above. The elementary writers all agree that the master is liable for the acts of his servant, although those acts may be contrary to his orders. Judge Story, in his treatise on Agency, says that the master must be held liable in civil suits for “ the frauds, deceits, concealments, misrepresentations, torts, negligences, and other malfeasance or malfeasances, and omissions of duty of his agent in the course of his employment, although the principal did not authorize, or justify, or participate in, or indeed know of, such misconduct, or even if he forbade the acts.” Chancellor Kent, in his Commentaries, holds the same rule; and both of these eminent writers cite a large number of authorities in support of their views. (Story on Agency, p. 537, notes 1, 2 and 3;)
It cannot be said in this case that Smith was not acting in the line of his duty when he fired the gun; he was. He was bringing the yacht to the place where his master directed him to bring her; he was in sole command, and was manoeuvering her, exchanging courtesies and salutations with other vessels, all of which was in the strict line' of his duty. One act of his duty, he was directed, two years before, to omit; he did not omit, but committed the act, and did it so negligently that he injured others. How, as I have said before, all wrongs have remedies in law, and, pray, where is the remedy here ? Who is to compensate this innocent man for the great injury and wrong he has suffered, without the slightest negligence on his part? Hot the ferry company, who were carrying him to his home, and who did not contribute to the negligence. It is idle to answer that the plaintiff may have recourse to Smith, when the law gives him the option to sue either the master or the servant. Smith’s responsibility is not so apparent as that of the owner of the yacht; but, however that may be, the plaintiff in- the exercise of an election ' accorded him by the law, has chosen to come against the *548principal. Instead of turning the plaintiff round to Smith, the defendant, as principal, may seek indemnity for any damages he may sustain in this action, hy a suit against his agent for disobedience of his instructions.
The judgment should tie reversed, and a new trial ordered.
Judgment for the defendant.
